955 F.2d 42
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Fred A. SHEARER, Plaintiff-Appellant,v.DEPARTMENT OF CORRECTIONS;  David Williams;  Edward W.Murray;  Major Lewis;  Marsh Pugh;  Dr. Barnes;Dr. Welsh, Defendants-Appellees.
    No. 92-6005.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 3, 1992.Decided Feb. 18, 1992.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.   David G. Lowe, Magistrate Judge.  (CA-91-26)
      Fred A. Shearer, appellant pro se.
      Robert Harkness Herring, Jr., Assistant Attorney General, Richmond, Va., John Baldwin Catlett, Jr., Carlyle Randolph Wimbish, III, Sands, Anderson, Marks &amp; Miller, Richmond, Va., for appellees.
      E.D.Va.
      AFFIRMED.
      Before WIDENER, HAMILTON and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Fred A. Shearer appeals from the magistrate judge's order denying relief under 42 U.S.C. § 1983 (1988).*  Our review of the record and the magistrate judge's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the magistrate judge.   Shearer v. Department of Corrections, No. CA-91-26 (E.D.Va. Dec. 23, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         The parties consented to jurisdiction of the magistrate judge pursuant to 28 U.S.C. § 636(c) (1988)
      
    
    